   3:18-cv-00161-TLW-PJG           Date Filed 08/23/18         Entry Number 74   Page 1 of 5




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                                COLUMBIA DIVISION



 JOHN DOE,

                                 Plaintiff,


     -against-

 UNIVERSITY OF SOUTH
 CAROLINA, HARRIS PASTIDES,                      Civil Action No. 3:18-cv-161-TLW-PJG
 individually and as agent for University
 of South Carolina, ALISA LIGGETT,
 individually and as agent for University
 of South Carolina, CARL WELLS,
 individually and as agent for University
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 of South Carolina, DENNIS PRUITT,                                                                   ~~
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 individually and as agent for University                                                           ("")~


 of South Carolina.
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                              Defendants.                                                 C>       l>
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PLAINTIFF'S MOTION FOR VOLUNTARY DISMISSAL OF ALL CLAIMS AGAINST
       ALL DEFENDANTS AND MEMORANDOM OF LAW IN SUPPORT



       Pursuant to Rule 41(a)(2) of Federal Rules of Civil Procedure, Plaintiff, John Doe, hereby

seeks permission from the Court to dismiss all claims in this action against Defendants

University of South Carolina, Harris Pastides, Alisa Liggett, Carl Wells and Dennis Pruitt. Since

Defendants have already filed an answer to Plaintiff's complaint, permission from the Court is

required for this action to be dismissed against Defendants.
   3:18-cv-00161-TLW-PJG           Date Filed 08/23/18       Entry Number 74        Page 2 of 5




                                   PROCEDURAL BACKGROUND

        Plaintiff, pursuing this case prose, brought this action against Defendants on January 19,

2018 seeking reinstatement of his visa status and stay of disciplinary sanctions against him.

Subsequently, his motions for preliminary injunctions and/or restraining orders were denied by

the Court. On May 15, 2018, Plaintiff served on Defendants his First Set of Interrogatories and

Requests for Production of Documents which, in response, he received incomplete answers from

Defendants. On July 23, 2018, Plaintiff moved this court for an extension of time to file motions

prior to trial since he had not had time to plead any proper motions in accordance to the

discovery responses.


       Plaintiff has already suffered extreme mental and emotional anguish arose from false

sexual misconduct allegations against him by Jane Roe during the adjudicative process at the

University South Carolina in the fall of 2017. An adjudicative process which obligated Plaintiff

to attend two full disciplinary hearings based on the same nexus of facts where he was found not

responsible for most of the allegations against him in the former where his accuser failed to

attend and was found fully responsible for all the allegations against him in the latter where his

accuser appeared with counsel and was suspended until May 31, 2019 from his place of primary

education and employment. Plaintiff _is still struggling with the aftermath of such incidents as he

has suffered extreme losses to his employment and student visa status in addition to his

reputation and educational records.

       Plaintiff has realized that reviewing of all those incidents and trying to prove his case

before the Court only exacerbates his mental and emotional distress as he has to go through all

the allegations and review the actions implemented by Jane Roe and the injustices incurred by

Defendants against him. Plaintiff has found himself not able to plead any motions to prove his
   3:18-cv-00161-TLW-PJG             Date Filed 08/23/18        Entry Number 74         Page 3 of 5




case before the Court at this point due to the substantial distress that will be inflicted on him.

After all, it is Plaintiff who is struggling with his expenses and basic financial needs, it is him

who is required to obtain valid immigration status in the United States, it is him who has been

suspended from university until May 31, 2019, and it is him whose reputation has been distorted

within his community and among his peers in his place of employment.


        Plaintiff's intention to dismiss this action against Defendants does not imply his regret to

file this suit or his fear of losing at trial based on the merits of his case. Plaintiff has made this

decision to prevent future emotional and mental distress by staying away from all the actions and

inactions which led to his suspension from the university. All Plaintiff has decided to focus on is

his return to the University of South Carolina after his suspension period is over on May 31,

2019 and obtaining legal immigration status prior to his attendance. Plaintiff has decided to

move on from everything that happened in the past and focus on his future educational and

occupational goals at this time. His primary goal is to return to his program at the University of

South Carolina and obtain his PhD degree after his suspension period is over.


                                               ARGUMENT

        Rule 41 of Federal Rules of Civil Procedure provides:


"VOLUNTARY DISMISSAL.

     (1) By the Plaintiff.
       (A) Without a Court Order. Subject to Rules 23(e), 23.l{c), 23.2, and 66 and any
     applicable federal statute, the plaintiff may dismiss an action without a court order by filing:
           (i) a notice of dismissal before the opposing party serves either an answer or a motion
        for summary judgment; or
           (ii) a stipulation of dismissal signed by all parties who have appeared.
       (B) Effect. Unless the notice or stipulation states otherwise, the dismissal is without
     prejudice. But if the plaintiff previously dismissed any federal- or state-court action based
3:18-cv-00161-TLW-PJG            Date Filed 08/23/18       Entry Number 74        Page 4 of 5




  on or including the same claim, a notice of dismissal operates as an adjudication on the
  merits.
   (2) By Court Order; Effect. Except as provided in Rule 41(a)(l}, an action may be
dismissed at the plaintiffs request only by court order, on terms that the court considers
proper. If a defendant has pleaded a counterclaim before being served with the plaintiffs
motion to dismiss, the action may be dismissed over the defendant's objection only if the
counterclaim can remain pending for independent adjudication. Unless the order states
otherwise, a dismissal under this paragraph (2) is without prejudice ... "


     As mentioned earlier in this memorandum, since Defendants have filed an answer to

Plaintiff's complaint, voluntary dismissal of Plaintiff's claim is possible only with the

discretion and permission from the Court. The dismissal of this lawsuit against all Defendants

will not by any means be prejudicial against them. Whether to dismiss an action without

prejudice under Rule 41(a)(2) remains in the discretion of the Court. JRA Architects & Project

Managers, P.S.C. v. First Fin. Grp., Inc., 375 F. Apf'x 42, 43 (1st Cir. 2010); Doe v.

Urohealth Sys. Inc., 216 F.3d 157, 160 (1st Cir. 2000); Canadian Nat'! Ry. Co. v. Montreal,

Me. & Atl. Ry., Inc., No. 1:10-cv-452-JAW, 2011 U.S. Dist. LEXIS 70425, *8 (D. Me. Jun.

30, 2011). The First Circuit stated that ''the basic purpose of Rule 41(a)(2) is to freely permit

the plaintiff, with court approval, to voluntarily dismiss an action so long as no other party will

be prejudiced." P.R. Mar. Shipping Auth. v. Leith, 668 F.2d 601,604 (1st Cir. 1981) (quoting

LeCompte v. Mr. Chip, Inc., 528 F.2d 601,604 (5th Cir. 1976)). As a general rule, a request

for dismissal without prejudice should be granted "if no prejudicial effects would result for the

opposing party." 9 CHARLES ALAN WRIGHT & ARTHUR R. MILLER, FEDERAL

PRACTICE AND PROCEDURE § 2364 (3d ed. 2008).
  3:18-cv-00161-TLW-PJG            Date Filed 08/23/18       Entry Number 74    Page 5 of 5




                                             COCLUSION

       As mentioned above, Plaintiff respectfully seeks permission of this Court to voluntarily

dismiss all of his claims against all Defendants in this action.




       Date: August 23, 2018.


       Columbia, South Carolina.




                                                                   Pro se Plaintiff   A"j- 'r, - t,O\i
                                                                   John Doe
